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                                   October 16, 2024

VIA ECF

Christopher M. Wolpert
Clerk of the Court
United States Court of Appeals for the Tenth Circuit
Byron White U.S. Courthouse
1823 Stout Street
Denver, CO 80257-1823

Re:     We the Patriots v. Lujan Grisham, Nos. 23-2166, 23-2167, 23-2185
        Argued September 25, 2024 (Hartz, Kelly, Bacharach, JJ.)

Dear Mr. Wolpert:

        Defendants-Appellees write to notify the Court that the State of Public
Health Emergency Due to Gun Violence expired on October 13, 2024. Because
the Public Health Order challenged in this case specified that it would “remain in
effect for the duration of the public health emergenc[y] … and any subsequent
renewals,” the Order is now no longer in effect, and Plaintiffs face no risk of
prosecution under it. Defendants-Appellees are available to submit supplemental
briefing on mootness if it would be helpful to the Court.

        This Court need not reach the mootness issue, however, because a separate
jurisdictional defect requires dismissal of this case: as already briefed and addressed
at oral argument, Plaintiffs failed to establish standing. See Supp. Br. of Defendants-
Appellees 4-10, Dkt. 82. Because mootness and standing are both threshold
jurisdictional issues, the Court may address them in either order. See, e.g., Citizen Ctr.
v. Gessler, 770 F.3d 900, 906 (10th Cir. 2014) (explaining that “there is no
mandatory sequencing of nonmerits issues” (cleaned up)); Church v. Polis, No. 20-
1391, 2022 WL 200661, at *7 (10th Cir. Jan. 24, 2022) (unpublished) (“[W]e elect
to exercise our discretion to set aside any mootness question in favor of a different
threshold issue—plaintiffs’ standing to bring such claims.”); Gardner v. Mutz, 962
F.3d 1329, 1337 (11th Cir. 2020) (considering standing before mootness, including
because “standing is ‘perhaps the most important’ … of Article III’s jurisdictional
prerequisites” (citation omitted)).
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                                               Sincerely,

                                               /s/ Janet Carter
                                               Janet Carter
                                               Counsel for Defendants-Appellees
                                               Governor Michelle Lujan Grisham et al.


Cc:     All Counsel of Record
